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             EXHIBIT A
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                                                    U.S. District Court

                                                Southern District of Florida

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Case Name:           Norris et al v. Brady et al
Case Number:         1:23-cv-20439-KMM
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Docket Text:
PAPERLESS ORDER. THIS CAUSE came before the Court upon a sua sponte review of the record. On April 18,
2023, this Court ordered the Parties to show cause why this action ("Norris") should not be consolidated with
another case before this Court, 1:22-cv-23753-KMM Garrison v. Bankman-Fried et al. ("Garrison") (ECF No. 45) at 1.
Defendants filed a Response and stated that they did not oppose consolidating the two cases, given that the cases
are "functionally the same." (ECF No. [46]). Defendants state that, as an alternative to consolidation, this Court
"may exercise its discretion to stay the later-filed Norris pending final adjudication of Garrison." Id. at 2.
Defendants reasoned that "[g]iven the overlapping claims, resolution of Garrison would resolve all issues raised in
Norris." Id. Plaintiffs also filed a Response and stated that they are in "full agreement with the Court" that
consolidation of the two cases is "certainly appropriate." (ECF No. [47]) at 1.

A district court has "broad discretion to stay proceedings as incident to its power to control its own docket."
Clinton v. Jones, 520 U.S. 681, 706 (1997) (citation omitted). And, the Court is "given considerable leeway in the
exercise of its judgment" of whether to issue a stay. Bos. Sci. Corp. v. Cook Grp. Inc., No. 1:17-cv-03448-JRS-MJD,
2019 WL 2511162, at *1 (S.D. Ind. June 17, 2019) (citing Ultratec, Inc. v. CaptionCall, LLC, 611 F. App'x 720, 72123
(Fed. Cir. 2015)). Indeed, "district courts have inherent, discretionary authority to issue stays in many
circumstances." Advanced Bodycare Sols., LLC v. Thione Int'l, Inc., 524 F.3d 1235, 1241 (11th Cir. 2008). "Federal
courts routinely exercise their power to stay a proceeding where a stay would promote judicial economy and
efficiency." Morrissey v. Subaru of Am., Inc., No. 1:15-CV-21106-KMM, 2015 WL 4512641, at *2 (S.D. Fla. July 24,
2015) (citation omitted).

Here, the Court finds that a stay is warranted. As Defendants note, "[t]he only difference between [Norris] and []
Garrison [] is that Garrison is a putative class action against eighteen defendants (including the three Defendants
here), while this action involves individual claims against only the three named Defendants here; otherwise, the
actions are functionally identical." (ECF No. [46]) at 1. And, given the overlapping claims, a resolution of Garrison
will resolve all issues raised in this action. Staying this action will promote judicial economy and efficiency.
Accordingly, UPON CONSIDERATION of the pertinent portions of the record, and being otherwise fully advised in
the premises, it is hereby ORDERED AND ADJUDGED that this Action is STAYED pending the resolution of the
Garrison Action. Signed by Judge K. Michael Moore on 4/24/2023. (rfr)


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